                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

UNITED STATES OF AMERICA                           )         DOCKET NO. 5:13CR93-RLV
          v.                                       )
                                                   )         ORDER OF DISMISSAL
(1) DORRIAN DEBRELL SHUFORD                        )

       For Good Cause shown in the United States= Motion to Dismiss the Bill of Indictment,

the Court hereby grants the dismissal of the Bill of Indictment in Docket No. 5:13CR93 without

prejudice as to defendant Dorrian Debrell Shuford only.


                                                       Signed: November 4, 2013




    Case 5:13-cr-00093-KDB-DCK           Document 11          Filed 11/04/13      Page 1 of 1
